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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                             :    CHAPTER 13
                                                   :
THOMILA SUE SMITH,                                 :    CASE NO. 23-62823-JRS
AKA THOMILA SUE STEGMAN                            :
AKA SUE SMITH                                      :    JUDGE: JAMES R. SACCA
                                                   :
         Debtor.                                   :
                                                   :
                                                   :
FREEDOM MORTGAGE CORPORATION,                      :    CONTESTED MATTER
                                                   :
         Movant.                                   :
                                                   :
vs.                                                :
THOMILA SUE SMITH,
                                                   :
AKA THOMILA SUE STEGMAN
AKA SUE SMITH                                      :
NANCY J. WHALEY, Trustee                           :
                                                   :
         Respondents.                              :
                                                   :

                                    NOTICE OF HEARING

      PLEASE TAKE NOTICE that FREEDOM MORTGAGE CORPORATION has filed a
Motion for Relief from the Automatic Stay and related papers with the Court seeking an order
modifying the automatic stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
at 9:00 A.M. on August 20, 2024 in Courtroom 1404, United States Courthouse, 75 Ted
Turner Drive, SW, Atlanta, Georgia 30303, which may be attended in person or via the
Court’s Virtual Hearing Room. You may join the Virtual Hearing Room through the “Dial-in
and Virtual Bankruptcy Hearing Information” link at the top of the homepage of
the Court’s website, www.ganb.uscourts.gov, or the link on the judge’s webpage, which
can also be found on the Court’s website. Please also review the “Hearing Information” tab
on the judge’s webpage for further information about the hearing. You should be prepared to
appear at the hearing via video, but you may leave your camera in the off position until
the Court instructs otherwise. Unrepresented persons who do not have video capability
may use the telephone dial-in information on the judge’s webpage.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings or if you want the Court to consider your views, then
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you and/or your attorney must attend the hearing. You may also file a written response to the
pleadings with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk before the hearing. The address of the Clerk’s Office is Clerk, U. S. Bankruptcy Court,
Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.

       If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.


       Dated this:   07/10/2024



                                                /s/ Ciro A Mestres
                                                Ciro A Mestres, GA BAR NO. 840253
                                                Attorney for Movant
                                                McCalla Raymer Leibert Pierce, LLC
                                                1544 Old Alabama Road
                                                Roswell, Georgia 30076
                                                678-281-6516
                                                Ciro.Mestres@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    )   CHAPTER 13
                                                          )
THOMILA SUE SMITH,                                        )   CASE NO. 23-62823-JRS
AKA THOMILA SUE STEGMAN                                   )
AKA SUE SMITH                                             )   JUDGE: JAMES R. SACCA
                                                          )
         Debtor.                                          )
                                                          )
                                                          )
FREEDOM MORTGAGE CORPORATION,                             )   CONTESTED MATTER
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
THOMILA SUE SMITH,                                        )
AKA THOMILA SUE STEGMAN                                   )
AKA SUE SMITH                                             )
NANCY J. WHALEY, Trustee                                  )
                                                          )
         Respondents.                                     )


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. Said real property is security for a promissory note, and is commonly known as 2626

Harman Park Court, Duluth, GA 30097 (the “Property”).
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                                               3.

       Debtor’s Amended Schedule A/B values the Property at $620,100.00. Upon information

and belief, Movant is not aware of any other liens against the Property other than a Secretary of

Housing and Urban Development in the amount of $89,806.00 held by U.S. Department of

Housing pursuant to Debtor’s Schedule D.

                                               4.

       Debtor executed a Subordinate Mortgage on November 19, 2021 in the amount of

$52,447.39 in favor of the Secretary of Housing and Urban Development consenting to a

mortgage lien being placed on the Property and will come due when the Borrower pays the loan

off, sells or refinances. On September 6, 2022, and August 28, 2023, Debtor executed another

Subordinate Mortgages in the amount of $22,391.37 and $14,967.75 in favor of the Secretary of

Housing and Urban Development, consenting to a mortgage lien being placed on the Property

and will come due when the Borrower pays the loan off, sells or refinances.

                                               5.

       Debtor has defaulted in making payments which have come due since this case was filed.

As of July 5, 2024, Debtor is delinquent for three (3) payments of $3,037.43 each (May 1, 2024

to July 1, 2024), less a suspense balance of $45.39, for a total post-petition delinquency of

$9,066.90, pursuant to the terms of the Loan Modification Agreement. In addition, Movant has

also incurred post-petition Bankruptcy fees of $950.00, as disclosed on the Notice of Post-

petition Mortgage Fees, Expenses, and Charges filed April 19, 2024.

                                               6.

       The unpaid principal balance, as of July 5, 2024, is $317,907.49, and interest is due

thereon in accordance with the Loan Modification Agreement.
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                                                  7.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                  8.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                  9.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.
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                                      /s/ Ciro A Mestres
                                      Ciro A Mestres, Georgia BAR NO. 840253
                                      Attorney for Movant
                                      McCalla Raymer Leibert Pierce, LLC
                                      1544 Old Alabama Road
                                      Roswell, Georgia 30076
                                      678-281-6516
                                      312-803-9663
                                      Ciro.Mestres@mccalla.com
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                                              BANKRUPTCY CASE NO. 23-62823-JRS

                                              CHAPTER 13

                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of July, 2024, I electronically filed the foregoing
Motion for Relief from Stay and Notice of Hearing using the Bankruptcy Court’s Electronic
Case Filing program, which sends a notice of this document and an accompanying link to this
document to the following parties who have appeared in this case under the Bankruptcy Court’s
Electronic Case Filing program:

Rushi D. Patel, Nancy J. Whaley

        I further certify that on this day I caused a copy of this document to be served via United
States First Class Mail, with adequate postage prepaid or overnight mail on the following parties at
the address shown for each.

Thomila Sue Smith
2626 Harman Park Court
Duluth, GA 30097

United States of America
c/o Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Dept. of Housing and Urban Development
Five Points Plaza Building
40 Marietta Street
Atlanta, GA 30303

United States of America
c/o United States Attorney
Richard B. Russell Federal Building
75 Ted Turner Dr. SW
Suite 600
Atlanta, GA 30303-3309

Dated:07/10/2024

/s/ Ciro A Mestres
Ciro A Mestres
McCalla Raymer Leibert Pierce, LLC
1544 Old Alabama Road
Roswell, Georgia 30076-2102
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                    Thomila Sue
Debtor Name:        Smith
BK Case Number:      23-62823
Filing Date:        12/28/23                                             Completed by:
Post First Due:     01/01/24                                             Completed Date:                 7/5/2024
Post-Petition Due   Date Received Amount Received      Amount Applied    Suspense Application   Suspense Balance
 Loan Modification completed 12/22/23 - 1st payment due post Loan Mod
                                3/1/24                                   $                  -    $            -
                                                                         $                  -    $            -
          03/01/24      5/1/2024           $3,037.43         $2,992.04   $                45.39 $           45.39 short payment applied
          04/01/24     5/14/2024           $3,037.43         $3,037.43   $                  -    $          45.39
          05/01/24 DUE                                       $3,037.43   $            (3,037.43) $      (2,992.04)
          06/01/24 DUE                                       $3,037.43   $            (3,037.43) $      (6,029.47)
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